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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

 Case No.         SACV15-02063-DOC (DFMx)                                         Date        01/09/2018
 Title            Grumpy Cat Limited v. Grenade Beverage LLC




 Present: The Honorable                  Douglas F. McCormick

                 Denise Vo                                       n/a                              CS 01/09/18
                Deputy Clerk                         Court Reporter / Recorder                     Tape No.
                Attorney Present for Plaintiffs:                       Attorney Present for Defendants:
                        Kia Kamran                                             Brian P. Kinder
                      David B. Jonelis


 Proceedings:                 (In Court) Settlement Conference

        Pursuant to Local Rule 16-14, the parties met this date for a mandatory settlement conference. The
parties were unable to reach an agreement on disposition of the case. The parties are encouraged to continue
their settlement discussions. Should there be a need for additional court assistance, the parties may contact
the Courtroom Deputy Clerk to schedule a further settlement conference.




                                                                                              7      :     15
                                                              Initials of Clerk          dv




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